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                                            United States Attorney
                                            Southern District of New York
                                            The Silvio J. Mollo Building
                                            One Saint Andrew’s Plaza
                                            New York, New York 10007




                                                                   MEMO ENDORSED, p. 3




            United States v. Delowar Mohammed Hossain




                              United States v. Rakim Brown




                                                                           Brown
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Brown
             Brown               Brown
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                        See, e.g.
                                    available at




                                                    Cf. Carroll v. Trump
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                                 United States v. Rakim Brown




The trial of this matter will commence on December 15, 2020, at 9:30 a.m., as set forth in the Order dated September 23,
2020 [Doc. No. 48]. A courtroom has been reserved for this trial on December 15, meeting all the requirements of the
COVID-19 protocols.
Dated: New York, New York
        November 2, 2020
